Co mA AN Dn na Ff WY NY

MMO NO NO NHN NHN NHN NHN NO NO HF KF KF HF FE FEF Fr OO Ee
on Dn On FBP WD NY KF CO UO WN WD A ff WW NY KF OC

Case 5:21-cv-00191-KS Document 21 Filed 10/08/21 Page1of1i Page ID #:542

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

BOBBY DWAYNE GARDNER,
Plaintiff,
V.

KILOLO KIJAKAZI, Acting
Commissioner of Social Security,

Defendant.

 

 

 

Case No. EDCV 5:21-cv-00191-KS

+PROPOSED} ORDER FOR THE
AWARD AND PAYMENT OF

ATTORNEY FEES AND EXPENSES
PURSUANT TO THE EQUAL ACCESS
TO JUSTICE ACT

Based upon the parties’ Stipulation for the Award and Payment of Equal Access
to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
amount of $4,039.16 as authorized by 28 U.S.C. § 2412, and costs of $402 under 28
U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

DATE: October 8, 2021

KAREN L. STEVENSON

UNITED STATES MAGISTRATE JUDGE

 
